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                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS




 BRIDGET SIMPSON, individually and on              Case No. 1:23-cv-16465
 behalf of all others similarly situated,
                                                   CLASS ACTION COMPLAINT
                        Plaintiff,
                                                   JURY TRIAL DEMANDED
         v.

 WALGREEN CO.;

 SUMTER EASY HOME LLC;

 NINGBO (USA) HOME-LINK PLASTIC
 PRODUCT MFG., LTD.,

                        Defendants.



       Plaintiff Bridget Simpson (“Plaintiff” or “Simpson”) brings this Class Action Complaint

against Walgreen Co. (“Walgreens”), Sumter Easy Home LLC (“Sumter”), and Ningbo (USA)

Home-Link Plastic Product Mfg., Ltd. (“Ningbo”) (collectively, “Defendants”), on behalf of

herself and all others similarly situated, and alleges upon personal knowledge of the allegations

specifically pertaining to her, and upon information and belief, the following:

                                 NATURE OF THE ACTION

       1.      Plaintiff brings this consumer protection and false advertising class action lawsuit

against Defendants regarding their misleading business practices with respect to the sale of their

Complete Home Heavy Duty Cutlery (the “Products”).

       2.      Defendants have marketed and sold the Products with labeling and packaging that

leads consumers to believe that the Products can be safely washed in the dishwasher in the way
standard cutlery is.
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         3.    By labeling the Products as “DISHWASHER SAFE” and “HEAVY DUTY,”

Defendants have misled consumers into believing that the Products are actually “dishwasher

safe” which, in the context of cutlery, means that the Products can be safely washed in the bottom

rack of a dishwasher. Unlike, for instance, unlike large pots and pans, cutlery is normally loaded

vertically in a cutlery basket which can only fit in the bottom rack of most dishwashers.1

         4.    However, unbeknownst to reasonable consumers, the Products are not dishwasher

safe because they can only be safely washed on the top rack of the dishwasher. In fact,

Defendants themselves admit that the Products are only “dishwasher safe” if cleaned on the top

rack.

         5.    Accordingly, representing that the Products are “DISHWASHER SAFE” and

“HEAVY DUTY” deceives reasonable consumers.

         6.    Defendants’ deception causes consumers to suffer economic damage because they

are not getting what they paid for: cutlery that is dishwasher safe.

         7.    Thus, Plaintiff, on behalf of herself and all others similarly situated, brings this

case seeking damages, restitution, declaratory and injunctive relief, and all other remedies this

Court deems appropriate.

                                             PARTIES

         8.    Plaintiff is a citizen of California and resides in Riverside, California. In or about

May 2022, Plaintiff purchased Complete Home Heavy Duty cutlery at a Walgreens store in

Riverside, California. The products were all uniformly facing the same direction. The front and

back labels bear the all-caps representations of “DISHWASHER SAFE” and “HEAVY DUTY.”

Similarly, the side labels of the product reiterate the “HEAVY DUTY” representation.

         9.    Based on these Representations, Plaintiff believed she was purchasing products



1
  For instance, General Electric (one of the most popular dishwasher brands) recommends placing forks
and knives with the handles up and instructs consumers to “always” place cutlery baskets in the lower
rack unless the owner’s manual suggests otherwise. See https://products.geappliances.com/appliance/gea-
support-search-content?contentId=18915 (last visited Dec. 4, 2023).



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that were dishwasher safe. This belief was material to her decision to purchase the product, as

she values affordable plasticware options that can be safely cleaned and reused so as to ensure

utility but also minimize their environmental impact.

       10.     However, unbeknownst to Plaintiff, the Products are not dishwasher safe. After

hosting a barbecue, Plaintiff attempted to wash the Products and was shocked to find they had

melted in her dishwasher’s cutlery basket, destroying the Products and potentially harming her

dishwasher.

       11.     Plaintiff would not have purchased the Products or would have paid significantly

less for them had she known that the Products were not in fact “DISHWASHER SAFE” as they

claimed. Plaintiff therefore suffered an injury-in-fact and lost money as a result of Defendants’

misleading, false, unfair, and fraudulent practices, as described herein.

       12.     Despite being misled, Plaintiff would likely purchase the Products in the future if

she could be assured that the Products were in fact dishwasher safe. Plaintiff is currently

prevented from doing so, however, due to the continuing refusal of Defendants to remedy such

issues. While Plaintiff currently believes the Products are not dishwasher safe, she lacks personal

knowledge as to Defendants’ specific business practices, leaving doubt in her mind as to the

possibility in the future that some of the Products could be dishwasher safe. This uncertainty,

coupled with her desire to purchase the Products, and the fact that she regularly visits Walgreens

stores which sell the Products, is an ongoing injury that can and would be rectified by an

injunction enjoining Defendants from making the false and/or misleading representations alleged

herein. In addition, Class members will continue to purchase the Products, reasonably but

incorrectly believing that they are dishwasher safe.

       13.     Defendant Walgreens maintains its principal place of business in Deerfield,

Illinois. Defendant operates retail drugstores, offering a wide range of prescription and non-

prescription drugs, as well as wellness, health and fitness products, everyday wares and

foodstuffs. The Complete Home Heavy Duty cutlery Products are available at Walgreens
locations throughout Illinois and nationwide. Defendant, directly and/or through its agents, is



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responsible for the manufacturing, packaging, marketing, distribution, and sale of the Complete

Home Heavy Duty cutlery Products in Illinois and nationwide.

       14.     Defendant Sumter Easy Home, LLC. maintains its principal place of business in

Sumter, South Carolina. Sumter Easy Home manufactures and supplies home organization and

house wares including plastic products, and markets its products worldwide. Defendant, directly

and/or through its agents, is responsible for the manufacturing, packaging, marketing,

distribution, and sale of the Complete Home Heavy Duty Flatware Products in Illinois and

nationwide.

       15.     Defendant Ningbo (USA) Home-Link Plastic Product Mfg., Ltd. maintains its

principal place of business in Rowland Heights, California. Defendant Ningbo (USA) Home-

Link Plastic Product Mfg., Ltd.       manufactures and distributes high end plastic products,

biodegradable products, plastic tableware products, durable household goods, and other related

products nationwide. Defendant, directly and/or through its agents, is responsible for the

manufacturing, packaging, marketing, distribution, and sale of the Complete Home Heavy Duty

cutlery Products in Illinois and nationwide.

                                JURISDICTION AND VENUE

       16.     This Court has original subject matter jurisdiction over this proposed class action

pursuant to the Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d)(2). The matter in

controversy, exclusive of interest and costs, exceeds the sum or value of $5,000,000. There is

diversity of citizenship between some members of the proposed Class and Defendants. Because

Plaintiff is a citizen of California and Defendants are citizens of Illinois, South Carolina, and

China, at least one member of the plaintiff class is a citizen of a State different from Defendants.

Finally, “the number of members of all proposed plaintiff classes in the aggregate” is greater than

100. See 28 U.S.C. § 1332(d)(5)(B).

       17.     This Court has personal jurisdiction over Defendants by virtue of their transacting

and doing business in this District. Defendants have each purposefully availed themselves of the
benefits and protections of the State of Illinois by continuously and systematically conducting



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substantial business in Illinois. Each Defendant markets and distributes its products in Illinois

and California.

        18.       The Court additionally and independently has personal jurisdiction over

Defendant Walgreens because Walgreens is located and operates its headquarters in the State of

Illinois.

        19.       Venue is proper pursuant to 28 U.S.C. § 1391(a) & (b) because a substantial part

of the events or omissions giving rise to the claims occurred in this District. Defendants maintain

key business operations in this District, and a substantial part of the events or omissions giving

rise to the claims occurred in this District.

                                   FACTUAL ALLEGATIONS

        20.       There are various grades and qualities of plastic cutlery and dishware, ranging

from the one-use disposable offerings found in fast-food restaurants to premium plastic ware

utilized by some caterers and hosts looking for an aesthetically pleasing but efficient way to feed

en masse.2

        21.       One niche in the plasticware industry is that of dishwasher safe products.

        22.       This representation has a specific and valuable meaning to consumers, as lesser-

grade plastics can melt in the dishwasher and damage the machinery. This can lead to foul odors

emanating from the dishwasher, and sometimes even costly repairs.3

        23.       Because certain plastics have a specific melting point, they can only be washed

safely on the top rack of a dishwasher, where the hottest elements does not reach. Indeed,




2
 https://supplize.com/blog/disposable-plastic-cutlery-comparison-guide-for-weights/ (last visited Dec. 4,
2023)
3
  https://products.geappliances.com/appliance/gea-support-search-
content?contentId=17406#:~:text=Occasionally%2C%20a%20plastic%20object%20or,prior%20to%20us
ing%20the%20dishwasher (last visited Dec. 4, 2023)



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differentiating on this basis is common in the industry:4




        24.     There is a clear distinction between washing a product on the top rack as opposed

to the rest of the dishwasher.

        25.     Thus, when a Product such as cutlery has been labelled “DISHWASHER SAFE”

and “HEAVY DUTY” with no apparent qualifiers, the reasonable consumer believes that the

product can be safely washed in the dishwasher as one would any other piece of cutlery.

        26.     This is significant, as most dishwashers have a cutlery basket that will only fit in

the bottom rack of the unit5:




4
 https://www.maytag.com/blog/kitchen/dishwasher-safe-and-tableware-symbols.html (last visited Dec. 4,
2023)
5
 See General Electrics, supra note 1, see also Bosch - 300 Series 24” Front Control Built-In Stainless
Steel Tub Dishwasher with 3rd Rack, Softener, AquaStop Plus and 46dBA - Stainless Steel
https://www.bestbuy.com/site/bosch-300-series-24-front-control-built-in-stainless-steel-tub-dishwasher-
with-3rd-rack-softener-aquastop-plus-and-46dba-stainless-steel/6532908.p?skuId=6532908 (last visited
(footnote continued)


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          27.   Thus, a reasonable consumer would believe after reading the representations

“DISHWASHER SAFE” and “HEAVY DUTY” that the cutlery being sold is safe and suitable

for the bottom rack’s cutlery basket and does not need to be placed on the top rack, like other

less durable products.

          28.   Defendants mislead consumers into buying the “DISHWASHER SAFE” and

“HEAVY DUTY” Products when, in reality, they are only dishwasher safe if washed on the top

rack of the dishwasher. Hidden on the bottom of the product, next to the barcode, is Defendants’

admission that the Product is only “Dishwasher Safe if Cleaned on the Top Rack” (emphasis

added):




          29.   Defendants distribute, market, and sell the Products in a manner that deceives

reasonable consumers into thinking that the Products are dishwasher safe.

          30.   Defendants’ deceptive and misleading marketing, packaging, and business



Dec. 4, 2023); MAYTAG Stainless Steel Tub Dishwasher With Dual Power Filtration
https://www.maytag.com/kitchen/dishwashers-and-compactors/dishwashers/front-control-
dishwashers/p.stainless-steel-tub-dishwasher-with-dual-power-filtration.mdb4949skz.html (last visited
Dec. 4, 2023)



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practices exploit consumer’s desire to invest in dishwasher safe cutlery.

       31.       Consumers, including Plaintiff, have suffered and continue to suffer an economic

injury by Defendants’ deceptions. They are not getting what they pay for— “heavy duty” and

“dishwasher safe” cutlery. Instead, they pay a price premium for a product that is facially

deceptive.

       32.       At all relevant times pertaining to this Complaint, the Products were sold at

Walgreens locations across California and Illinois.

       33.       The foregoing Representations, taken in isolation, and as a whole, create the

misleading impression that the Products are dishwasher safe.

       34.       The Products’ labeling, packaging, and marketing are misleading to reasonable

consumers, including Plaintiff and other Class members, and only serve the profit-maximizing

interests of Defendants.

       35.       Defendants deceptively labeled and packaged the Products to target consumers

who are interested in purchasing dishwasher safe cutlery.

       36.       As the entities responsible for the development, manufacturing, packaging,

distribution, and sale of the Products, Defendants knew or should have known that the Products

falsely and deceptively misrepresent that the Products are dishwasher safe.

       37.       Defendants know, knew or should have known, that Plaintiff and other consumers

did and would rely on the labeling, packaging, and advertising before purchasing the Products,

and would reasonably believe that the Products were dishwasher safe.

       38.       Because the Products are not dishwasher safe as reasonably expected by Plaintiff

and other consumers, Defendants’ marketing of the Products was and continues to be misleading

and deceptive.

       39.       Plaintiff and other consumers have paid an unlawful premium for the Products.

Plaintiff and other consumers would have paid significantly less for the Products had they known

that the Products are not dishwasher safe. In the alternative, Plaintiff and other consumers would
not have purchased the Products at all had they known that the Products are not dishwasher safe.



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Therefore, Plaintiff and other consumers that purchased the Products suffered injury in fact and

lost money as a result of Defendants’ false, unfair, and fraudulent practices, as described herein.

       40.     As a result of their misleading business practices, and the harm caused to Plaintiff

and other consumers, Defendants should be enjoined from deceptively representing that the

Products are dishwasher safe. Furthermore, Defendants should be required to pay for all damages

caused to misled consumers, including Plaintiff.

                               CLASS ACTION ALLEGATIONS

       41.     Plaintiff brings this case as a class action that may be properly maintained

pursuant to Federal Rule of Civil Procedure 23 on behalf of herself and on behalf of the following

California Subclass, California Consumer Subclass, and Nationwide Class (“Classes”):

                   a. The “California Subclass”: All persons who purchased any of the

                       Products in California within the applicable statute-of-limitations period.

                   b. The “California Consumer Subclass”: All persons who purchased any

                       of the Products in California for personal, family, or household purposes

                       within the applicable statute-of-limitations period.

       42.     Excluded from the Classes are: (a) Defendants, Defendants’ board members,

executive-level officers, and attorneys, and immediate family members of any of the foregoing

persons; (b) governmental entities; (c) the Court, the Court’s immediate family, and the Court

staff; and (d) any person that timely and properly excludes himself or herself from the Class in

accordance with Court-approved procedures.

       43.     Plaintiff is a member of the California Subclass and the California Consumer

Subclass.

       44.     Plaintiff reserves the right to alter the Class definitions as Plaintiff deems

necessary at any time to the full extent that the Federal Rules of Civil Procedure, the Local Rules

of this District, and applicable precedent allow.

       45.     Certification of Plaintiff’s claims for class-wide treatment is appropriate because
Plaintiff can prove the elements of the claims on a class-wide basis using the same evidence that



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individual Class members would use to prove those elements in individual actions alleging the

same claims.

         46.   Numerosity: The size of the Class is so large that joinder of all Class members is

impracticable. Due to the nature of Defendants’ business, Plaintiff believes there are thousands,

if not hundreds of thousands, of Class members.

         47.   Predominance of Common Questions of Law and Fact: There are questions of

law and fact common to the Class. These questions predominate over any questions affecting

only individual Class members.

         48.   All Class members were exposed to Defendants’ deceptive advertising and

marketing representations indicating that the Products are dishwasher safe, when in fact they are

not.

         49.   Furthermore, common legal and factual questions include but are not limited to:

         a.    whether Defendants engaged in the course of conduct alleged herein;

         b.    whether Defendants’ conduct is likely to deceive a reasonable consumer;

         c.    whether Defendants’ conduct constitutes an unfair or deceptive act or

               practice;

         d.    whether Defendants violated the consumer protection statutes set forth

               below;

         e.    whether Plaintiff and the Class members are entitled to actual, statutory,

               or other forms of damages and other monetary relief; and

         f.    whether Plaintiff and the Class members are entitled to equitable relief,

               including but not limited to injunctive relief and equitable restitution.

         50.   Defendants engaged in a common course of conduct in contravention of the laws

Plaintiff seeks to enforce individually and on behalf of Class members. Similar or identical

statutory and common law violations, business practices, and injuries are involved. Individual

questions, if any, pale by comparison, in both quality and quantity, to the numerous common
questions that dominate this action. Moreover, the common questions will yield common answers



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that will materially advance the litigation.

        51.    Typicality: Plaintiff’s claims are typical of the claims of the Class members

because Defendants injured all Class members through the uniform misconduct described herein;

all Class members were subject to Defendants’ false, misleading, and unfair advertising and

marketing practices and representations, including the false and misleading representations

indicating that the Products are dishwasher safe, when in fact they are not; and Plaintiff seeks the

same relief as Class members.

        52.    Furthermore, there are no defenses available to Defendants that are unique to

Plaintiff.

        53.    Adequacy of Representation: Plaintiff is a fair and adequate representative of

the Class because Plaintiff’s interests do not conflict with the Class members’ interests.

        54.    Plaintiff has selected competent counsel that are experienced in class action and

other complex litigation.

        55.    Plaintiff will prosecute this action vigorously and is highly motivated to seek

redress against Defendants. Plaintiff and Plaintiff’s counsel are committed to prosecuting this

action vigorously and have the resources to do so.

        56.    Injunctive or Declaratory Relief: The requirements for maintaining a class

action pursuant to Rule 23(b)(2) are met, as Defendants have acted or refused to act on grounds

generally applicable to the Class, thereby making final injunctive relief or corresponding

declaratory relief an appropriate remedy.

        57.    Superiority: The class action mechanism is superior to other available means for

the fair and efficient adjudication of this controversy for reasons including but not limited to the

following:

        a.     The damages individual Class members suffered are small compared to

               the burden and expense of individual prosecution of the complex and

               extensive litigation needed to address Defendants’ conduct.
        b.     Further, it would be virtually impossible for Class members individually



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               to redress effectively the wrongs done to them. Even if Class members

               themselves could afford such individual litigation, the court system could

               not. Individualized litigation would unnecessarily increase the delay and

               expense to all parties and to the court system and presents a potential for

               inconsistent or contradictory rulings and judgments. By contrast, the class

               action device presents far fewer management difficulties, allows the

               hearing of claims which might otherwise go unaddressed because of the

               relative expense of bringing individual lawsuits, and provides the benefits

               of single adjudication, economies of scale, and comprehensive supervision

               by a single court.

       c.      The prosecution of separate actions by individual members of the Class

               would create a risk of inconsistent or varying adjudications with respect

               to individual Class members, which would establish incompatible

               standards of conduct for Defendants.

       d.      The prosecution of separate actions by individual Class members would

               create a risk of adjudications with respect to them that would, as a practical

               matter, be dispositive of the interests of other Class members not parties

               to the adjudications or that would substantively impair or impede their

               ability to protect their interests.

       58.     Notice: Plaintiff’s counsel anticipates that notice to the proposed Class will be

effectuated through Court-approved notice dissemination methods, which may include mail,

Internet postings, and/or published notice.

                                 FIRST CLAIM FOR RELIEF
             Violation of California’s Consumers Legal Remedies Act (“CLRA”)
                             California Civil Code §§ 1750, et seq.
                            (for the California Consumer Subclass)

       59.     Plaintiff realleges Paragraphs 1-58 above as if fully set forth herein.
       60.     Plaintiff brings this claim individually and on behalf of the members of the



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proposed California Consumer Subclass against Defendants.

       61.     Each Product is a “good” within the meaning of Cal. Civ. Code § 1761(a), and the

purchase of such Products by Plaintiff and members of the California Consumer Subclass

constitute “transactions” within the meaning of Cal. Civ. Code § 1761(e).

       62.     Cal. Civ. Code § 1770(a)(5) prohibits “[r]epresenting that goods or services have

sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities which they do not

have. . ..” By marketing the Products with their current labels, packaging, and advertisements,

Defendants have represented and continues to represent that the Products have characteristics

(that they are “dishwasher safe”) when they do not have such characteristics. Therefore,

Defendants have violated section 1770(a)(5) of the CLRA.

       63.      Cal. Civ. Code § 1770(a)(7) prohibits “[r]epresenting that goods or services are

of a particular standard, quality, or grade, or that goods are of a particular style or model, if they

are of another.” By marketing the Products with their current labels, packaging, and

advertisements, Defendants have represented and continues to represent that the Products are of

a particular standard, quality, grade, or style (that they are dishwasher safe) when they are of

another standard, quality, grade, or style (the Products are not dishwasher safe). Therefore,

Defendants have violated section 1770(a)(7) of the CLRA.

       64.     Cal. Civ. Code § 1770(a)(9) prohibits “[a]dvertising goods or services with intent

not to sell them as advertised.” By labeling, packaging, and marketing the Products with the

Representations so that a reasonable consumer would believe that the Products are dishwasher

safe, Defendants have violated section 1770(a)(9) of the CLRA.

       65.     Cal. Civ. Code § 1770(a)(16) prohibits “[r]epresenting that the subject of a

transaction has been supplied in accordance with a previous representation when it has not.” By

labeling, packaging, and marketing the Products with the Representations, such that a reasonable

consumer would believe that they are dishwasher safe, and then not selling the Products in

accordance with this Representation (because the Products are not dishwasher safe), Defendants
have violated section 1770(a)(16) of the CLRA.



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       66.      At all relevant times, Defendants have known or reasonably should have known

that Plaintiff and other members of the California Consumer Subclass would reasonably and

justifiably rely on the Representations in purchasing the Products.

       67.     Plaintiff and members of the California Consumer Subclass have reasonably and

justifiably relied on Defendants’ misleading and fraudulent conduct when purchasing the

Products. Moreover, based on the very materiality of Defendants’ fraudulent and misleading

conduct, reliance on such conduct as a material reason for the decision to purchase the Products

may be presumed or inferred for Plaintiff and members of the California Consumer Subclass.

       68.     Plaintiff and members of the California Consumer Subclass have suffered and

continue to suffer injuries caused by Defendants because they would not have purchased the

Products or would have paid significantly less for the Products had they known that Defendants’

conduct was misleading and fraudulent.

       69.     Under Cal. Civ. Code § 1780(a), Plaintiff and members of the California

Consumer Subclass are seeking injunctive relief pursuant to the CLRA, preventing Defendants

from further wrongful acts, unfair and unlawful business practices, as well as restitution,

disgorgement of profits, and any other relief this Court deems proper.

       70.     Pursuant to Cal. Civ. Code § 1782, on May 2, 2023, counsel mailed a notice and

demand letter by certified mail, with return receipt requested, to Defendant Walgreens.

Defendant Walgreens received the notice and demand letter on May 3, 2023. Defendants Sumter

and Ningbo’s parent company confirmed receipt of the letter on June 7, 2023. The CLRA letter

that provided notice of Defendants’ violation of the CLRA demanded Defendant Walgreens

correct, repair, replace, or otherwise rectify the unlawful, unfair, false, and deceptive practices

complained of herein. The letter also stated that if Defendant Walgreens refused to do so, Plaintiff

would file a complaint seeking damages in accordance with the CLRA. Defendants failed to

comply with the letter.

       71.     Because Defendants have failed to fully rectify or remedy the damages caused
after waiting more than the statutorily required 30 days after they received the notice and demand



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letter, Plaintiff timely filed this complaint against Defendants.

                                      SECOND CLAIM
                       Violation of California’s False Advertising Law
                           CAL. BUS. & PROF. CODE § 17500 et seq.
               (for the California Subclass and California Consumer Subclass)

       72.     Plaintiff realleges Paragraphs 1-58 above as if fully set forth herein.

       73.     Plaintiff brings this claim on behalf of the California Subclass and California

Consumer Subclass for violation of California’s False Advertising Law, Cal. Bus. & Prof. Code

§ 17500 et seq. (the “FAL”).

       74.     The FAL prohibits advertising “which is untrue or misleading, and which is

known, or which by the exercise of reasonable care should be known, to be untrue or misleading.”

Cal. Bus. & Prof. Code § 17500.

       75.     As detailed above, Defendants’ marketing and sale of the Products to Plaintiff and

other members of the California Subclass and California Consumer Subclass is likely to deceive

a reasonable consumer because Defendants’ representations and omissions are likely to lead a

reasonable consumer to believe the Products are dishwasher safe, when in fact they are not.

       76.     In reliance of Defendants’ false and misleading representations indicating the

Products are dishwasher safe, Plaintiff and the other members of the California Subclass and

California Consumer Subclass purchased the Products. Moreover, based on the very materiality

of Defendants’ fraudulent and misleading conduct, reliance on such conduct as a material reason

for the decision to purchase the Products may be presumed or inferred for Plaintiff and the

members of the California Subclass and California Consumer Subclass.

       77.     Defendants knew or should have known that their labeling and marketing of the

Products is likely to deceive a reasonable consumer.

       78.     Plaintiff requests that this Court cause Defendants to restore this fraudulently

obtained money to Plaintiff and members of the California Subclass and California Consumer

Subclass, to disgorge the profits Defendants made on these transactions, and to enjoin Defendants
from violating the FAL or violating it in the same fashion in the future as discussed herein.




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Otherwise, Plaintiff and members of the California Subclass and California Consumer Subclass

may be irreparably harmed and/or denied an effective and complete remedy if such an order is

not granted.

                                       THIRD CLAIM
                      Violation of California’s Unfair Competition Law
                           CAL. BUS. & PROF. CODE § 17200 et seq.
               (for the California Subclass and California Consumer Subclass)

       79.     Plaintiff realleges Paragraphs 1-58 above as if fully set forth herein.

       80.     Plaintiff brings this claim against Defendants on behalf of the California Subclass

and California Consumer Subclass for violation of the “unlawful,” “unfair,” and “fraudulent”

prongs of California’s Unfair Competition Law, Cal. Bus. & Prof. Code § 17200 et seq. (the

“UCL”).

       81.     The circumstances giving rise to the allegations of Plaintiff and the members of

the California Subclass and California Consumer Subclass include Defendants’ corporate

policies regarding the marketing, sale, and provision of the Products.

       82.     The UCL prohibits “unfair competition,” which it defines to “mean and include

any unlawful, unfair or fraudulent business act or practice and unfair, deceptive, untrue or

misleading advertising and any act prohibited by [the FAL].” Cal. Bus. & Prof. Code § 17200.

       83.     Under the UCL, a business act or practice is “unlawful” if it violates any

established state or federal law.

       84.     As detailed herein, Defendants’ acts, misrepresentations, omissions, and practices

violate the FAL and the CLRA. On account of each of these violations of law, Defendants have

also violated the “unlawful” prong of the UCL.

       85.     As a result of Defendants’ unlawful business acts and practices, Defendants have

and continues to unlawfully obtain money from Plaintiff and members of the California Subclass

and California Consumer Subclass.

       86.     Under the UCL, a business act or practice is “unfair” if the Defendants’ conduct
is substantially injurious to consumers, offends public policy, and is immoral, unethical,




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oppressive, and unscrupulous, as the benefits for committing such acts of practices are

outweighed by the gravity of the harm to the alleged victims.

       87.     Defendants’ conduct was and continues to be of no benefit to purchasers of the

Products, as it is misleading, unfair, unlawful, and is injurious to consumers who purchased the

Products and were deceived by Defendants’ misrepresentations and omissions. Deceiving

consumers about the Products being dishwasher safe is of no benefit to consumers. Instead,

Defendants’ deception exploits consumer’s desire to purchase dishwasher safe cutlery. The

injury caused to consumers is not outweighed by countervailing benefits to consumers or

competition, as there can be no benefit to consumers when they are required to pay more for the

same product. As such, Defendants induce consumers into purchasing the Products, reasonably

believing such products are dishwasher safe, when in fact, they are not. Therefore, Defendants’

conduct was and continues to be “unfair.”

       88.     As a result of Defendants’ unfair business acts and practices, Defendants have and

continue to unlawfully obtain money from Plaintiff and members of the California Subclass and

California Consumer Subclass.

       89.     Defendants committed “unlawful,” “unfair,” and/or “fraudulent” business acts or

practices by, among other things, engaging in conduct Defendants knew or should have known

would be likely to and did deceive reasonable consumers, including Plaintiff and the members

of the California Subclass and California Consumer Subclass. By relying on Defendants’ false

and misleading representations indicating the Products are dishwasher safe, Plaintiff and the

other members of the California Subclass and California Consumer Subclass purchased the

Products. Moreover, based on the very materiality of Defendants’ fraudulent and misleading

conduct, reliance on such conduct as a material reason for the decision to purchase the Products

may be presumed or inferred for Plaintiff and the members of the California Subclass and

California Consumer Subclass.

       90.     Defendants knew or should have known that its labeling and marketing of the
Products would likely deceive a reasonable consumer.



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       91.     Plaintiff requests that this Court cause Defendants to restore this unlawfully,

unfairly, and fraudulently obtained money to Plaintiff, and members of the California Subclass

and California Consumer Subclass, to disgorge the profits Defendants made on these

transactions, and to enjoin Defendants from violating the UCL or violating it in the same fashion

in the future as discussed herein. Otherwise, Plaintiff, and members of the California Subclass

and California Consumer Subclass, may be irreparably harmed and/or denied an effective and

complete remedy if such an order is not granted.

                               FOURTH CLAIM FOR RELIEF
                                 Breach of Implied Warranty
                          California Commercial Code § 2314 (2)(f)
               (for the California Subclass and California Consumer Subclass)

       92.     Plaintiff realleges Paragraphs 1-58 above as if fully set forth herein.

       93.     Plaintiff brings this claim individually and on behalf of the members of the

California Subclass and California Consumer Subclass against Defendants.

       94.     California’s implied warranty of merchantability statute provides that “a warranty

that the goods shall be merchantable is implied in a contract for their sale if the seller is a

merchant with respect to goods of that kind.” Cal. Com. Code § 2314(1).

       95.     California’s implied warranty of merchantability statute also provides that

“[g]oods to be merchantable must be at least such as . . . (f) [c]onform to the promises or

affirmations of fact made on the container or label if any.” Cal. Com. Code § 2314(2)(f).

       96.     Defendants are merchants with respect to the sale of the Products. Therefore, a

warranty of merchantability is implied in every contract for sale of the Products to California

consumers.

       97.     By advertising the Products with their current packaging, Defendants made an

implied promise that the Products are dishwasher safe. The Products have not “conformed to the

promises…made on the container or label” because are not dishwasher safe. Plaintiff, as well as

consumers, did not receive the goods as impliedly warranted by Defendants to be merchantable.
       98.     Therefore, the Products are not merchantable under California law and



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Defendants have breached their implied warranty of merchantability in regard to the Products.

       99.      Plaintiff realized that the Products did not conform to the promises made on the

packaging in or around January 2023, and Defendants promptly received a letter of notice.

       100.     If Plaintiff and members of the California Subclass and California Consumer

Subclass had known that the Products were not dishwasher safe, they would not have been willing

to pay the premium price associated with them or would not have purchased them at all.

Therefore, as a direct and/or indirect result of Defendants’ breach, Plaintiff and members of the

California Subclass and California Consumer Subclass have suffered injury and deserve to

recover all damages afforded under the law.

                                  FIFTH CLAIM FOR RELIEF
                                      Common law Fraud
                                       (for the Classes)

       101.     Plaintiff realleges Paragraphs 1-58 above as if fully set forth herein.

       102.     Plaintiff brings this claim individually and on behalf of the members of the

Classes against Defendants.

       103.     Defendants have willfully, falsely, or knowingly packaged and marketed the

Products in a manner indicating that the Products are dishwasher safe when they are not.

Therefore, Defendants have made misrepresentations as to the Products.

       104.     Defendants also failed to adequately disclose that the Products are not dishwasher

safe in order to induce consumers’ purchases of the Products.

       105.     Defendants’ misrepresentations and omissions are and were material (i.e., the type

of misrepresentations to which a reasonable person would attach importance and would be

induced to act thereon in making purchase decisions) because they relate to the characteristics of

the Products.

       106.     Defendants knew or recklessly disregarded the fact that the Products are not

dishwasher safe.

       107.     Defendants intends that Plaintiff and other consumers rely on these
representations and omissions, as evidenced by Defendants’ intentionally using labeling that



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directly states that the Products are dishwasher safe.

       108.    Plaintiff and members of the Classes have reasonably and justifiably relied on

Defendants’ misrepresentations and omissions when purchasing the Products and had the correct

facts been known, would not have purchased the Products or would not have purchased them at

the prices at which they were offered.

       109.    Therefore, as a direct and proximate result of Defendants’ fraud, Plaintiff and

members of the Classes have suffered economic losses and other general and specific damages,

including but not limited to the amounts paid for the Products, and any interest that would have

accrued on those monies, all in an amount to be proven at trial.

                               SIXTH CLAIM FOR RELIEF
                        Quasi Contract/Unjust Enrichment/Restitution
                                      (for the Classes)

       110.    Plaintiff realleges paragraphs 1-58 above as if fully set forth herein.

       111.    Plaintiff brings this claim individually and on behalf of the members of the

Classes against Defendants.

       112.    As alleged herein, Defendants have intentionally and recklessly made misleading

representations to Plaintiff and members of the Classes to induce them to purchase the Products.

Plaintiff and members of the Classes have reasonably relied on the misleading representations

and have not received all of the benefits promised by Defendants. Plaintiff and members of the

Classes therefore have been induced by Defendants’ misleading and false representations about

the Products, and paid for them when they would and/or should not have, or paid more money to

Defendants for the Products than they otherwise would and/or should have paid.

       113.    Plaintiff and members of the Classes have conferred a benefit upon Defendants as

Defendants have retained monies paid to them by Plaintiff and members of the Classes.

       114.    The monies received were obtained under circumstances that were at the expense

of Plaintiff and members of the Classes – i.e., Plaintiff and members of the Classes did not receive

the full value of the benefit conferred upon Defendants.
       115.    Therefore, it is inequitable and unjust for Defendants to retain the profit, benefit,



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or compensation conferred upon them without paying Plaintiff and the members of the Classes

back for the difference of the full value of the benefits compared to the value actually received.

       116.     As a direct and proximate result of Defendants’ unjust enrichment, Plaintiff and

members of the Classes are entitled to restitution, disgorgement, and/or the imposition of a

constructive trust upon all profits, benefits, and other compensation obtained by Defendants from

their deceptive, misleading, and unlawful conduct as alleged herein.

                                SEVENTH CLAIM FOR RELIEF
                                  Intentional Misrepresentation
                                         (for the Classes)

       117.     Plaintiff realleges paragraphs 1-58 above as if fully set forth herein.

       118.     Plaintiff brings this claim individually and on behalf of the members of the

Classes against Defendants.

       119.     Defendants marketed the Products in a manner indicating that the Products are

dishwasher safe when they are not. Therefore, Defendants have made misrepresentations as to

the Products.

       120.     Defendants’ misrepresentations regarding the Products are material to a

reasonable consumer because they relate to the characteristics of the Products. A reasonable

consumer would attach importance to such representations and would be induced to act thereon

in making purchase decisions.

       121.     At all relevant times when such misrepresentations were made, Defendants knew

that the representations were misleading, or have acted recklessly in making the representations,

without regard to the truth.

       122.     Defendants intend that Plaintiff and other consumers rely on these representations,

as evidenced by Defendants’ intentionally using packaging that directly states that the Products

are dishwasher safe.

       123.     Plaintiff and members of the Classes have reasonably and justifiably relied on

Defendants’ intentional misrepresentations when purchasing the Products, and had the correct
facts been known, would not have purchased the Products or would not have purchased them at



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the prices at which they were offered.

       124.     Therefore, as a direct and proximate result of Defendants’ intentional

misrepresentations, Plaintiff and members of the Classes have suffered economic losses and other

general and specific damages, including but not limited to the amounts paid for the Products, and

any interest that would have accrued on those monies, all in an amount to be proven at trial.

                                EIGHTH CLAIM FOR RELIEF
                                  Negligent Misrepresentation
                                        (for the Classes)

       125.     Plaintiff realleges paragraphs 1-58 above as if fully set forth herein.

       126.     Plaintiff brings this claim individually and on behalf of the members of the

Classes against Defendants.

       127.     Defendants marketed the Products in a manner indicating that the Products are

dishwasher safe when they are not. Therefore, Defendants have made misrepresentations as to

the Products.

       128.     Defendants’ misrepresentations regarding the Products are material to a

reasonable consumer because they relate to the characteristics of the Products. A reasonable

consumer would attach importance to such representations and would be induced to act thereon

in making purchase decisions.

       129.     At all relevant times when such misrepresentations were made, Defendants knew,

or had been negligent in not knowing, that the Products were not dishwasher safe. Defendants

had no reasonable grounds for believing their misrepresentations were not false and misleading.

       130.     Defendants intend that Plaintiff and other consumers rely on these representations,

as evidenced by Defendants intentionally using packaging that directly states that the Products

are dishwasher safe.

       131.     Plaintiff and members of the Classes have reasonably and justifiably relied on

Defendants’ misrepresentations when purchasing the Products, and had the correct facts been

known, would not have purchased the Products or would not have purchased them at the prices
at which they were offered.



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       132.    Therefore, as a direct and proximate result of Defendants’ negligent

misrepresentations, Plaintiff and members of the Classes have suffered economic losses and other

general and specific damages, including but not limited to the amounts paid for the Products, and

any interest that would have accrued on those monies, all in an amount to be proven at trial.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the members of the Classes,

respectfully requests the Court to enter an Order:

       A.      certifying the proposed Classes under Federal Rule of Civil Procedure 23(a),

(b)(2), and (b)(3), as set forth above;

       B.      declaring that Defendants are financially responsible for notifying the Class

members of the pendency of this suit;

       C.      declaring that Defendants have committed the violations of law alleged herein;

       D.      providing for any and all injunctive relief the Court deems appropriate;

       E.      awarding statutory damages in the maximum amount for which the law provides;

       F.      awarding monetary damages, including but not limited to any compensatory,

incidental, or consequential damages in an amount that the Court or jury will determine, in

accordance with applicable law;

       G.      providing for any and all equitable monetary relief the Court deems appropriate;

       H.      awarding punitive or exemplary damages in accordance with proof and in an

amount consistent with applicable precedent;

       I.      awarding Plaintiff reasonable costs and expenses of suit, including attorneys’ fees;

       J.      awarding pre- and post-judgment interest to the extent the law allows; and

       K.      providing such further relief as this Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

               Plaintiff hereby demands a trial by jury on all claims so triable.

Date: December 4, 2023                        Respectfully submitted,

                                              FARUQI & FARUQI, LLP



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